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     ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                      Nos. 24-1113, 24-1130, 24-1183
                ________________________________________
             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
               ________________________________________

                   TIKTOK INC. and BYTEDANCE LTD.,
                                               Petitioners,
                                       v.

             MERRICK B. GARLAND, in his official capacity as
                 Attorney General of the United States,
                                               Respondent.

                             (caption continued)
                ________________________________________

 On Petitions for Review of the Protecting Americans from Foreign Adversary
                         Controlled Applications Act
                ________________________________________

                  BRIEF OF AMICUS CURIAE
    AMERICAN FREE ENTERPRISE CHAMBER OF COMMERCE
                IN SUPPORT OF RESPONDENT
           ________________________________________

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              ________________________________________

                      BRIAN FIREBAUGH et al.,
                                          Petitioners,
                                  v.

           MERRICK B. GARLAND, in his official capacity as
               Attorney General of the United States,
                                          Respondent.
              ________________________________________

                       BASED POLITICS, INC.,
                                          Petitioners,
                                  v.

           MERRICK B. GARLAND, in his official capacity as
               Attorney General of the United States,
                                          Respondent.
              ________________________________________
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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel certifies

as follows:

      A.      PARTIES AND AMICI

      Petitioners are TikTok Inc. and ByteDance, Ltd. (No. 24-1113); Brian

Firebaugh, Chloe Joy Sexton, Talia Cadet, Timothy Martin, Kiera Spann, Paul

Tran, Christopher Townsend, and Steven King (No. 24-1130); and BASED

Politics Inc. (No. 24-1183). Respondent in all three cases is Merrick B. Garland,

in his official capacity as Attorney General of the United States.

      As of this filing, amici are Electronic Frontier Foundation, Michael B.

Mukasey, Freedom of the Press Foundation, TechFreedom, Jeff Sessions,

Media Law Resource Center, Center for Democracy and Technology, Chris

Inglis, First Amendment Coalition, Christopher A. Ford, Freedom to Read

Foundation, Michelle Van Cleave, Cato Institute, William Evanina, Matthew

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Lenora P. Gant, Calos Coalition, Paula Doyle, Hispanic Heritage Foundation,

Teresa H. Shea, Muslim Public Affairs Council, Geof Kahn, Native Realities,



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Philadelphia, Rick Nelson, South Asian Legal Defense Fund, Andrew Borene,

Sikh Coalition, Edward Fishman, Sadhana, Michael Geffroy, San Francisco,

Knight First Amendment Institute at Columbia University, Free Press, Pen

American Center, Milton Mueller, Timothy H. Edgar, Susan A. Aaronson,

Hans Klein, Hungry Panda US, Inc., Shubhangi Agarwalla, Enrique Armijo,

Derek Bambauer, Jane Bambauer, Elettra Bietti, Ashutosh Bhagwat, Stuart N.

Brotman, Anupam Chander, Erwin Chemerinsky, James Grimmelmann,

Nikolas Guggenberger, G. S. Hans, Robert A. Heverly, Michael Karanicolas,

Kate Klonick, Mark Lemley, David S. Levine, Yvette Joy Liebesman, Dylan K.

Moses, Sean O’Brien, and Christopher J. Sprigman.

      B.    RULINGS UNDER REVIEW

      These petitions seek review of the Protecting Americans from Foreign

Adversary Controlled Applications Act, Pub. L. No. 118-50, div. H, 138 Stat.

955 (2024). There are no prior rulings under review.




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      C.    RELATED CASES

      These cases were not previously before this Court or any other court.

Counsel for amicus is not aware of any related case currently pending before this

Court or any other court within the meaning of D.C. Circuit Rule 28(a)(1)(C).


Dated: August 2, 2024                   /s/ Jared M. Kelson
                                        Jared M. Kelson

                                        Counsel for American Free Enterprise
                                        Chamber of Commerce




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                        DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit

Rules 26.1 and 29(b), I hereby certify that Amicus Curiae American Free

Enterprise Chamber of Commerce is a not-for-profit entity organized consistent

with I.R.C. § 501(c)(6). It has no parent corporation, and no publicly held

company has a 10% or greater ownership interest.


Dated: August 2, 2024                  /s/ Jared M. Kelson
                                       Jared M. Kelson

                                       Counsel for American Free Enterprise
                                       Chamber of Commerce




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                               GLOSSARY

Act        Protecting Americans from Foreign Adversary Controlled
           Applications Act, Pub. L. No. 118-50, div. H, 138 Stat. 955 (2024)

CCP        Chinese Communist Party

CFIUS      Committee on Foreign Investment in the United States

FCC        Federal Communications Commission

PRC        People’s Republic of China




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                      INTEREST OF AMICUS CURIAE1

      The American Free Enterprise Chamber of Commerce is a not-for-profit

entity organized consistent with I.R.C. § 501(c)(6) that represents hard-working

entrepreneurs and businesses across all sectors. Its members are vitally interested

in the preservation of free markets, innovation, and the continued viability of

our republic.




1
  No party’s counsel authored this brief in whole or in part, and no person or
entity other than amicus or their counsel made a monetary contribution intended
to fund its preparation or submission.


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                                INTRODUCTION

      Congress passed the Protecting Americans from Foreign Adversary

Controlled Applications Act, Pub. L. No. 118-50, div. H, 138 Stat. 955 (2024)

(“Act”), to make it unlawful for third parties to “distribute, maintain, or update”

any “foreign adversary controlled application,” which includes anything

operated directly or indirectly by TikTok Inc. and its parent company,

ByteDance Ltd. Id. § 2(a)(1), (g). That prohibition does not apply if the relevant

company completes a “qualified divestiture” that removes the foreign

adversary’s control. Id. § 2(c)(1), (g)(6).

      The Act followed years of unsuccessful efforts by Congress and the

Executive Branch to address significant security concerns presented by the

extremely popular social-media application TikTok, which is owned by

ByteDance Ltd. and operated in the United States by TikTok Inc. See Gov.Br.7–

11. TikTok is a platform to create, share, and view videos. Through its

operation, TikTok collects data on the age, precise location, viewing habits,

private messages, phone number, phone contacts, and sometimes Social

Security and tax identification numbers of its users. See Gov.Br.27–28, 34.

      House Report 118-417 notes the “tight interlinkages between ByteDance

Ltd., TikTok, and the Chinese Communist Party” (“CCP”) in the People’s

Republic of China (“PRC”). H.R. Rep. No. 118-417, at 3–4 (Mar. 11, 2024). It


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explains that “the PRC can require a company headquartered in the PRC to

surrender all its data” and secretly “assist or cooperate with CCP intelligence

work,” becoming an “espionage tool.” Id. at 3–4. As the U.S.-China Economic

and Security Review Commission observed, “[c]ontrol of Chinese firms is

blurred, contrary to the precise division between state and nonstate firms implied

in corporate ownership registration.”2

      ByteDance Ltd. and TikTok Inc. are owned by Beijing ByteDance

Technology, “a Chinese internet technology company headquartered in

Beijing.” H.R. Rep. No. 118-417, at 3. ByteDance Ltd. is incorporated in the

Cayman Islands and headquartered in Beijing. Id. The proprietary algorithm for

TikTok is also maintained in the PRC. TikTok.Br.24; Gov.Br.16–17. That

means the PRC has an effectual backdoor into the phones—and personal data

stored there—of over 170 million TikTok users in the United States.

      Numerous petitioners have challenged the Act under the First




2
 U.S.-China Econ. & Sec. Rev. Comm’n, 117th Cong., 2021 Annual Report to
Congress 214 (Comm. Print 2021), https://www.uscc.gov/sites/default/files/
2021-11/2021_Annual_Report_to_Congress.pdf; see id. (“China’s government
has developed numerous avenues through which to monitor corporate affairs
and direct nonstate firms and resources toward advancing [CCP] priorities.
Within this expanded framework of government control, traditional definitions
of state control in an entity no longer apply because any entity may be compelled
to act on behalf of the Chinese government’s interest, regardless of the state’s
formal ownership.”).


                                         2
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Amendment. Those arguments fail because foreign entities operating abroad

don’t have First Amendment rights, and prohibiting ownership and control of

companies like TikTok regulates conduct, not speech. Any effect on speech is

incidental, easily satisfying the standard in United States v. O’Brien, 391 U.S. 367,

377 (1968). Petitioners identify no cases holding that the First Amendment

protects foreign control of domestic platforms, or that private individuals have a

First Amendment right to have a foreign government amplify their speech.

      This conclusion is reinforced by antitrust law, where the federal

government routinely regulates publishers, newspapers, and other expressive

entities—even forcing divestments—without violating the First Amendment.

The Act is also consistent with a constellation of other statutes that limit foreign

ownership and control of businesses and property in the United States.

                                  ARGUMENT

I.    THE ACT IS CONSISTENT WITH THE FIRST AMENDMENT

      A.     THE FIRST AMENDMENT DOES NOT PROTECT SPEECH BY FOREIGN
             ORGANIZATIONS OPERATING ABROAD

      The First Amendment doesn’t protect ByteDance Ltd. One of the

“bedrock principles” of constitutional law is that “foreign organizations

operating abroad … possess no rights under the First Amendment.” Agency for

Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 591 U.S. 430, 436 (2020). That means

ByteDance Ltd.—which operates in the PRC—has no First Amendment claim

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for what it does there, including curating content with its proprietary algorithm

for TikTok, even if that material makes its way back to the United States.

      The government contends that TikTok Inc. also lacks First Amendment

rights because, although it is incorporated in California, it merely channels the

speech of a foreigner operating abroad. Gov.Br.59–60. There’s a persuasive

argument that is correct—TikTok Inc. is controlled by ByteDance, which is

controlled by the PRC. As the Supreme Court has explained, “[a] corporation is

simply a form of organization used by human beings to achieve desired ends,”

and “[w]hen rights, whether constitutional or statutory, are extended to

corporations, the purpose is to protect the rights of these people.” Burwell v.

Hobby Lobby Stores, Inc., 573 U.S. 682, 706–07 (2014); cf. Bank of the United States

v. Deveaux, 9 U.S. (5 Cranch) 61, 86–88 (1809). Because TikTok Inc. is a conduit

for decisionmaking by ByteDance Ltd. and the PRC—a foreign government—

which have no First Amendment rights, TikTok Inc. doesn’t either. Cf.

Cummings v. Missouri, 71 U.S. 277, 325 (1866) (“The Constitution deals with

substance, not shadows.”).

      In any event, assuming TikTok Inc. has First Amendment rights, entities

subject to foreign control in a manner that threatens national security cannot

escape regulation by simply asserting that they’re engaged in expressive conduct.

They cannot “use the First Amendment as a cloak for obviously unlawful public


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… conduct by the diaphanous device of attributing protected expressive

attributes to that conduct.” Arcara v. Cloud Books, Inc., 478 U.S. 697, 705 (1986);

see also Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 514 (1972) (“It

is well settled that First Amendment rights are not immunized from regulation

when they are used as an integral part of conduct which violates a valid

statute.”). The First Amendment isn’t implicated here because no “conduct with

a significant expressive element”—foreign ownership and control—“drew the

legal remedy in the first place,” nor does this regulation “based on a

nonexpressive activity” have “the inevitable effect of singling out those engaged

in expressive activity.” Arcara, 478 U.S. at 706–07.

      And to the extent TikTok Inc. has First Amendment rights in this context,

Palestine Information Office v. Shultz, 853 F.2d 932 (D.C. Cir 1988), is dispositive.

The State Department there had ordered the Palestine Information Office in

Washington, D.C., to close after finding it “operated as a foreign mission of the

Palestine Liberation Organization.” Id. at 934. This Court explained that the

closure “did not … infringe upon” the First Amendment rights of the Palestine

Information Office because its personnel remained “as free today as they were

before the order to express whatever ideas they wish and to associate with

whichever individuals they wish.” Id. But they were “not free … to set up an

office that functions as a foreign mission for the [Palestine Liberation


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Organization] when the State Department finds that the national interest

requires otherwise,” because the “incidental impact on speech caused by the

conduct limitations of the order at issue is outweighed by the strong

governmental interests behind the order.” Id. (citing O'Brien, 391 U.S. 367); see

also Part I.B, infra. So too, here.3

      B.     THE ACT REGULATES CONDUCT, AND ANY IMPACT ON THE
             SPEECH OF TIKTOK USERS IS INCIDENTAL

      That leaves only the First Amendment rights of TikTok’s users. But

Congress passed the Act to prohibit ownership and control of TikTok by a

foreign government, because it provides the PRC with access to the phones and

personal data of its over 170 million users in the United States. Any impact on

speech is, at most, incidental to that end.4


3
  TikTok also employs an algorithm to control the content displayed to its users.
Members of Congress expressed additional concern that the PRC could use that
ability for malign purposes. Because regulating foreign ownership and control
to protect the personal data of over 170 million TikTok users in the United States
satisfies O’Brien, and “the government would have [regulated] the conduct
regardless,” Masterpiece Cakeshop v. Colo. C.R. Comm’n, 584 U.S. 617, 664 (2018)
(Thomas, J., joined by Gorsuch, J., concurring in part and concurring in
judgment) (citing Barnes v. Glen Theatre, Inc., 501 U.S. 560, 566–72 (1991); Clark
v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293 (1984)), this Court does not
need to decide whether preventing algorithm manipulation provides an
independent justification for the Act under O’Brien or any other test.
4
 Petitioners assert not just their right to speak, but also an interest in receiving
communication from a foreign government under Lamont v. Postmaster General,
381 U.S. 301 (1965). See, e.g., Creators.Br.33–34. That distinction doesn’t affect
                                                    (footnote continued on next page)

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      As the Supreme Court explained in O’Brien, regulation of conduct does

not violate the First Amendment if it: (1) “furthers an important or substantial

governmental interest;” (2) “if the governmental interest is unrelated to the

suppression of free expression;” and (3) “if the incidental restriction on alleged

First Amendment freedoms is no greater than is essential to the furtherance of

that interest.” 391 U.S. at 377. That test is easily satisfied.

      First, “[s]ecurity against foreign danger is one of the primitive objects of

civil society” and “an avowed and essential object of the American Union.” The

Federalist No. 41 (James Madison). It is therefore “‘obvious and unarguable’

that no governmental interest is more compelling than the security of the

Nation.” Haig v. Agee, 453 U.S. 280, 307 (1981) (quoting Aptheker v. Sec’y of State,

378 U.S. 500, 509 (1964)). The Supreme Court has further held that the federal

government can take “preventative measure[s]” to counter such threats. Holder

v. Humanitarian L. Project, 561 U.S. 1, 34–35 (2010); see also Haig, 453 U.S. at 303

(“History eloquently attests that grave problems of national security and foreign

policy are by no means limited to times of formally declared war.”).




whether the Act is a regulation of conduct with only incidental effects on First
Amendment rights. And, in any event, limits on “the First Amendment right to
receive information,” including “from outside the United States,” can be
justified under Lamont on the basis of “national security concerns.” Thunder
Studios, Inc. v. Kazal, 13 F.4th 736, 743–44 (9th Cir. 2021).


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      “National-security policy is the prerogative of the Congress and

President,” such that “judicial inquiry into the national-security realm raises

‘concerns for the separation of powers in trenching on matters committed to the

other branches.’” Ziglar v. Abbasi, 582 U.S. 120, 142 (2017) (quoting Christopher

v. Harbury, 536 U.S. 403, 417 (2002)). Both agree here that the Act and its

implementation are necessary to national security. And, as this Court has

recognized, “[t]he authority of the executive branch, always great in the foreign

policy field, is at its apex when it acts, as here, pursuant to an express

congressional authorization.” Palestine Info. Off., 853 F.2d at 934.

      Second, prohibiting the PRC from maintaining access to the phones of

170 million users in the United States “on its face deals with conduct having no

connection with speech.” O’Brien, 391 U.S. at 375. TikTok users also remain

free to engage in the same speech “at another location,” or on TikTok following

a qualified divestiture, confirming the Act regulates conduct. Arcara, 478 U.S.

705; see also Virginia v. Hicks, 539 U.S. 113 (2003); Haig, 453 U.S. at 309.

      It is immaterial that TikTok users prefer that platform, because “the First

Amendment does not guarantee the right to communicate one’s views at all

times and places or in any manner that may be desired.” Heffron v. Int’l Soc’y for

Krishna Consciousness, Inc., 452 U.S. 640, 647 (1981). This is true even if state-

imposed restrictions “reduce to some degree the potential audience for …


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speech.” Ward v. Rock Against Racism, 491 U.S. 781, 802 (1989). The Supreme

Court in Kovacs v. Cooper, 336 U.S. 77 (1949), upheld a prohibition on sound

trucks and other loudspeakers as a public nuisance, even though “more people

may be more easily and cheaply reached” using that medium. Id. at 88–89. That

conclusion is all the more persuasive when the loudspeaker amplifying the

message is a foreign government.5

      Third, divestment is the only way to stop the threat to national security.

ByteDance Ltd. and TikTok Inc. confirm that, in its present form, there’s no

way to disentangle TikTok operations in the United States from the PRC.

TikTok.Br.21–24. Nor is trying to monitor 2 billion lines of code in the PRC a

feasible option, Gov.Br.56, especially when the PRC can require ByteDance

Ltd. to keep any PRC involvement or influence a secret, see H.R. Rep. No. 118-

417, at 4.

      Accordingly, any impact on speech is incidental and does not violate the

First Amendment.




5
  City of Ladue v. Gilleo, 512 U.S. 43 (1994), is not to the contrary. The Court
emphasized the “special respect for individual liberty in the home,” which “has
long been part of our culture and our law” and “has special resonance when the
government seeks to constrain a person’s ability to speak there.” Id. at 58. That
consideration is absent here.


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II.   ANTITRUST LAW SUPPORTS THE CONSTITUTIONALITY OF MANDATORY
      DIVESTMENT

      Congressional authority to regulate foreign ownership of entities,

including those whose operations implicate the First Amendment, finds strong

support in the analogous context of antitrust law. Congress can regulate in a

manner that includes publishers, newspapers, and other expressive entities—

even forcing divestments—to facilitate competition and prevent monopolies

without violating the First Amendment. Otherwise, ordinary federal antitrust

review of mergers involving such companies would be plagued by First

Amendment objections.

      But the Supreme Court has long held that publishers are “not immune

from the antitrust laws by reason of the fact that the press is under the shelter of

the First Amendment.” Cal. Motor Transp., 404 U.S. at 514. Antitrust

considerations touch on “[n]either news gathering nor news dissemination …

only with restraints on certain business or commercial practices.” Citizen Publ’g

Co. v. United States, 394 U.S. 131, 139–40 (1969); see also Nat’l Broad. Co. v. United

States, 319 U.S. 190 (1943); E. States Retail Lumber Dealers’ Ass’n, 234 U.S. 600

(1914); United States v. Bertelsmann SE & Co. KGaA, 646 F. Supp. 3d 1 (D.D.C.

2022); United States v. AT&T Co., 552 F. Supp. 131 (D.D.C. 1982); United States

v. E.W. Scripps Co., 1968 U.S. Dist. LEXIS 12210 (S.D. Ohio Nov. 12, 1968).



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       If ordering divestiture from publishers, newspapers, and other expressive

entities to promote market competition does not violate the First Amendment,

despite its obvious implications for speech, it’s hard to see how protecting

national security—an “obvious and unarguable” interest recognized by the

Supreme Court as “more compelling” than any other, Haig, 453 U.S. at 307

(cleaned up)—would be more restricted.

III.   PROHIBITING FOREIGN OWNERSHIP AND CONTROL IS NOTHING NEW

       A.    THE DEFENSE PRODUCTION ACT AND SIMILAR STATUTES LIMIT
             FOREIGN OWNERSHIP AND CONTROL

       Congress has elsewhere prohibited foreign ownership and control. The

Defense Production Act of 1950, Pub. L. No. 81-774, 64 Stat. 798, authorizes

the Committee on Foreign Investment in the United States (“CFIUS”) to review

and make recommendations to the President about regulating or prohibiting

certain transactions involving foreign persons and ownership of businesses in

the United States, the purchase of property near military installations or other

sensitive areas, or investment in critical infrastructure, critical technologies, or

“any unaffiliated United States business that … maintains or collects sensitive

personal data of United States citizens that may be exploited in a manner that

threatens national security,” among other categories of transactions. 50 U.S.C.

§ 4565(a)(4)(B). CFIUS must also “take any necessary actions in connection

with the transaction to protect the national security of the United States,”

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especially if “the transaction is a foreign government-controlled transaction.” Id.

§ 4565(b)(2)(A), (B)(i)(II). The President can also “suspend or prohibit any

covered transaction that threatens to impair the national security of the United

States.” Id. § 4565(d)(1).

      It would be passing strange for this entire regime to come crashing down

because a foreign government claimed it wanted the property for a purpose

protected by the First Amendment.

      CFIUS is also part of a larger constellation of laws prohibiting foreign

ownership and control. Congress has prohibited, for example: non-citizen

control of banks, 12 U.S.C. § 72; issuing licenses for nuclear facilities “to an

alien or any corporation or other entity if the [Atomic Energy] Commission

knows or has reason to believe it is owned, controlled, or dominated by an alien,

a foreign corporation, or a foreign government,” 42 U.S.C. § 2133(d); and

authorizing non-citizens to operate an air carrier, 49 U.S.C. §§ 40102(a)(15),

41102(a). Congress has even restricted granting broadcast licenses to “any

foreign government” or “any corporation directly or indirectly controlled … by

a foreign government or representative thereof, or by any corporation organized

under the laws of a foreign country, if the [Federal Communications

Commission (“FCC”)] finds that the public interest will be served by the refusal

or revocation of such license.” 47 U.S.C. § 310(a), (b)(4). This Court has


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affirmed FCC decisions to deny licenses to foreign entities, without even the

slightest hint that there might be First Amendment considerations. See, e.g.,

Cellwave Tel. Servs. L.P. v. FCC, 30 F.3d 1533 (D.C. Cir. 1994); Moving Phones

P’ship L.P. v. FCC, 998 F.2d 1051 (D.C. Cir. 1993); see also Part III.B, infra.

      B.    THIS COURT HAS UPHELD FCC ORDERS DENYING LICENSES TO
            CARRIERS SUBJECT TO PRC OWNERSHIP AND CONTROL

      This Court has already upheld decisions to deny companies the ability to

operate instrumentalities of communication in the United States when they are

subject to the ownership and control of the PRC. Under the Communications

Act of 1934, Pub. L. No. 73-416, 48 Stat. 1064, the FCC may consider national

defense when making (or revoking) grants for the operation of communications

lines. 47 U.S.C. § 151. The FCC has exercised that authority to deny or revoke

authorization to subsidiaries in the United States that are “vulnerable to

exploitation, influence, and control by the Chinese government.” In re China

Mobile Int’l (USA) Inc., 34 FCC Rcd. 3361, 3366 (2019). This includes, for

example, United States companies with an “indirect controlling parent” that is

owned by the PRC and exerts influence. Id. at 3368; see also China Telecom

(Americas) Corp., 36 FCC Rcd. 15966 (2021).

      This Court has upheld those orders. In Pacific Networks Corp. v. FCC, 77

F.4th 1160 (D.C. Cir. 2023), this Court recognized that ostensibly private

carriers, incorporated and headquartered in the United States, can be considered

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agents of the PRC by virtue of their ownership “through various affiliated

Chinese companies” that “exercise significant control over … day-to-day

operations.” Id. at 1164. This Court noted that “China can access the carriers’

records through those affiliates, including by invoking a Chinese law requiring

all Chinese corporations to ‘support, assist, and cooperate with national

intelligence efforts.’” Id. (citation omitted). The concern was especially severe

because the carriers had “amassed detailed call records of its United States

customers,” could “monitor the calls themselves,” and had “access to

customers’ personally identifiable information.” Id. This Court recognized that,

on the basis of the available information, the FCC justifiably “concluded that

the domestic operations … threatened national security by making vast amounts

of sensitive information easily available to China.” Id. at 1165.

      This Court also determined that the FCC reasonably “rejected the

possibility of mitigating measures short of revocation,” in part because “[s]uch

agreements are not self-enforcing, and the agency cannot comprehensively

monitor compliance,” and “oversight cannot reliably detect surreptitious, state-

sponsored efforts at evasion.” Id. at 1165–66.

      In China Telecom (Americas) Corp. v. FCC, 57 F.4th 256 (D.C. Cir. 2022),

this Court similarly upheld the FCC’s decision to revoke approval for “a U.S.

subsidiary of a Chinese state-owned enterprise” because the carrier was “subject


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to exploitation, influence, and control by the Chinese government.” Id. at 260

(citation omitted). This Court credited the FCC’s finding that the carrier’s

“operations give it the capability to access, monitor, store, disrupt, and misroute

U.S. communications,” and share that information with the PRC. Id. at 266.

This Court found “compelling evidence that the Chinese government may use

Chinese information technology firms as vectors of espionage and sabotage,”

and explained that the FCC “need not wait for a risk to materialize before

revoking … authorization.” Id. “In the national security context,” this Court

continued, “‘conclusions must often be based on informed judgment rather than

concrete evidence, and that reality affects what we may reasonably insist on

from the Government.’” Id. (quoting Olivares v. TSA, 819 F.3d 454, 466 (D.C.

Cir. 2016)).

      If all this sounds familiar, that’s because it’s strikingly similar—if not

identical—to the reasons Congress and the Executive Branch decided TikTok

needed to sever ties with the PRC to continue operating in the United States.

These cases would have been no different if the carriers alleged they would use

their approvals to make their own phone calls, publish expressive content, or

prioritize the speech of some of their patrons over others.

                                CONCLUSION

      This Court should deny the petitions for review.


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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the type-volume limitations

of Federal Rule of Appellate Procedure 29(a)(5) because it contains 3,485 words,

excluding the portions exempted by Rule 32(f). This brief complies with the

typeface and type style requirements of Federal Rule of Appellate Procedure

Rule 32(a)(5)–(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word in Calisto MT and 14-point font.


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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 2, 2024, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit by using the CM/ECF system, which will serve all parties

automatically.


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